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07                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
08                                      AT SEATTLE
09 UNITED STATES OF AMERICA,              )
                                          )
10         Plaintiff,                     )
                                          )            Case No. 05-484M
11         v.                             )
                                          )
12   MY BA DINH,                          )            DETENTION ORDER
                                          )
13         Defendant.                     )
     ____________________________________ )
14

15 Offenses charged:

16           Conspiracy to import marijuana, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A),
17 and 846 and possession of marijuana with intent to distribute, in violation of 21 U.S.C.§§ 841

18 (a)(1), 841 (b)(1)(D).

19 Date of Detention Hearing:      October 14, 2005
20           The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
21 based upon the factual findings and statement of reasons for detention hereafter set forth,

22 finds:

23          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
24           (1)    Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that

25 defendant is a flight risk and a danger to the community based on the nature of the pending

26 charges.

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01         (2)   Defendant’s interview with Pretrial Services produced substantial discrepancies
02               regarding his living arrangements, employment arrangements, citizenship status
03               and passport information. These issues raise substantial questions regarding
04               the risk of nonappearance. In addition, substance abuse questions remain. As
05               a result, the defendant has not overcome the statutory rebuttable presumption
06               set forth in 18 U.S.C. § 3142 (e).
07         IT IS THEREFORE ORDERED:
08         (1)   Defendant shall be detained pending trial and committed to the custody of the
09               Attorney General for confinement in a correction facility separate, to the extent
10               practicable, from persons awaiting or serving sentences or being held in
11               custody pending appeal;
12         (2)   Defendant shall be afforded reasonable opportunity for private consultation
13               with counsel;
14         (3)   On order of a court of the United States or on request of an attorney for the
15               government, the person in charge of the corrections facility in which defendant
16               is confined shall deliver the defendant to a United States Marshal for the
17               purpose of an appearance in connection with a court proceeding; and
18         (4)   The Clerk shall direct copies of this Order to counsel for the United States, to
19               counsel for the defendant, to the United States Marshal, and to the United
20               States Pretrial Services Officer.
21
                 DATED this 14th day of October, 2005.


                                                       A
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23
                                                       JAMES P. DONOHUE
24
                                                       United States Magistrate Judge
25

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     DETENTION ORDER                                                                        15.13
     18 U.S.C. § 3142(i)                                                                 Rev. 1/91
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